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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   CHERYL THURSTON, an individual, and Case No. 5:17-cv-02183 JFW (SPx)
     on behalf of all others similarly situated,
12
                   Plaintiff,                      NOTICE OF LODGING [PROPOSED]
13                                                 STATEMENT OF DECISION
                   vs.
14
     FCA US LLC, a Delaware limited liability Date: January 22, 2018
15   company; and DOES 1 – 10, inclusive,     Time: 1:30 P.M.
                                              Location: Courtroom 7A
16              Defendants.
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                         NOTICE OF LODGING [PROPOSED] STATEMENT OF DECISION
     Case 5:17-cv-02183-JFW-SP Document 28 Filed 01/08/18 Page 2 of 3 Page ID #:186



 1    TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that Plaintiff Cheryl Thurston, hereby lodges her
 3    [Proposed] Statement of Decision regarding FCA US LLC's Motion to Dismiss.
 4    Dated: January 8, 2018             PACIFIC TRIAL ATTORNEYS, APC
 5

 6                                       By: /s/ Scott J. Ferrell
                                         Scott. J. Ferrell
 7                                       Attorneys for Plaintiff
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                       NOTICE OF LODGING [PROPOSED] STATEMENT OF DECISION
     Case 5:17-cv-02183-JFW-SP Document 28 Filed 01/08/18 Page 3 of 3 Page ID #:187



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on January 8, 2018, I electronically filed the foregoing NOTICE
 3    OF LODGING [PROPOSED] STATEMENT OF DECISIONwith the Clerk of the
 4    Court using the CM/ECF system which will send notification of such filing via electronic
 5    mail to all counsel of record.
 6
                                       /s/ Scott J. Ferrell
 7                                     Scott J. Ferrell
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                          NOTICE OF LODGING [PROPOSED] STATEMENT OF DECISION
